
The People of the State of New York, Respondent,
againstEmmanie Phillips a/k/a Aisha Whalea, Defendant-Appellant.



In consolidated criminal appeals, defendant appeals from (1) a judgment of the Criminal Court of the City of New York, New York County (Lisa A. Sokoloff, J., at plea; Erika M. Edwards, J., at sentencing), rendered July 25, 2014, convicting her, upon a plea of guilty, of petit larceny, and imposing sentence, and (2) a judgment (same court, Erika M. Edwards, J.), rendered July 25, 2014, convicting her, upon plea of guilty, of petit larceny, and imposing sentence.




Per Curiam.
Judgments of conviction (Lisa A. Sokoloff, at plea; Erika M. Edwards, J. at sentencing), and (Erika M. Edwards, J.) each rendered July 25, 2014, affirmed.
Application by appellant's counsel to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1976]). We are satisfied with the sufficiency of the brief filed by defendant's assigned counsel pursuant to Anders, and, upon an independent review of the record, agree that there is no
valid appealable issue that could be raised on appeal.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur 
Decision Date: March 21, 2016










